                IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         CHARLOTTE DIVISION
                           3:07CV348-02-M
                          (3:00CR212-1-MU)


PAULITO SALAZAR-ACUNA,        )
     Petitioner,              )
                              )
          v.                  )              O R D E R
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )
______________________________)


     THIS MATTER is before this Court upon an initial review of

Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence

under 28 U.S.C. §2255, filed August 20, 2007(Doc. No. 1).             For

the reasons stated herein, Petitioner’s Motion to Vacate will be

summarily denied and dismissed.

               I.   FACTUAL AND PROCEDURAL BACKGROUND

     Pertinent to this Motion, the record reflects that on May 8,

2001, a Superceding Bill of Indictment was filed, charging that

Petitioner and 11 co-defendants had conspired to possess with

intent to distribute in excess of five kilograms of cocaine

powder and in excess of 100 kilograms of marijuana, in violation

of 21 U.S.C. §§ 841(a)(1), (b) and 846 (Count One); and that

Petitioner had twice possessed in excess of 500 grams of cocaine

powder with intent to distribute those substances, in violation

of 21 U.S.C. §§ 841(a)(1) and (b) (Counts Two and Three).

     On April 19, 2002, Petitioner filed his Plea Agreement,




    Case 3:00-cr-00212-FDW   Document 248   Filed 02/01/08   Page 1 of 23
which document reflects, inter alia, Petitioner’s promise to

plead guilty to the conspiracy charge, his stipulations to the

existence of a factual basis for his guilty plea and his in-

volvement with 150 kilograms or more of cocaine powder, his

acknowledgment that pursuant to the U.S. Sentencing Guidelines,

the unadjusted offense level was 38; and it set forth his ac-

knowledgment that he was waiving his right to a direct appeal on

any ground and to collateral review on any grounds except inef-

fective assistance of counsel and prosecutorial misconduct.

     The Plea Agreement also records the Government’s agreement

to dismiss the remaining charges at the conclusion of Petition-

er’s case; and to evaluate any cooperation by Petitioner in order

to determine whether to seek a downward departure for him.

     On April 30, 2002, Petitioner appeared before a magistrate

judge for a Plea and Rule 11 Hearing.       On that occasion, the

Court, using a Spanish-speaking translator/interpreter, placed

Petitioner under oath and engaged him in its standard, lengthy

colloquy to ensure that his guilty plea was being intelligently

and voluntarily tendered.     At the outset of that proceeding, de-

fense counsel advised the Court that he had not recently reviewed

the plea colloquy with Petitioner, and so counsel asked the Court

for additional time to discuss the proceeding with Petitioner.

     However, after a recess, Petitioner and defense counsel

returned to Court and announced that Petitioner wanted to


                                    2


    Case 3:00-cr-00212-FDW   Document 248   Filed 02/01/08   Page 2 of 23
continue with the proceeding.      When the proceeding continued, the

Court reviewed for Petitioner the critical allegation from the

Indictment and the elements of the offense.         The Court and both

attorneys also reviewed the terms of parties’ Plea Agreement with

Petitioner.

     In response to the Court’s questions, Petitioner swore that

he had received a copy of the Indictment and had reviewed it with

his attorney; and that he fully understood the charge and its

corresponding penalties.     Equally critically, Petitioner swore

that he understood the terms of his Plea Agreement, including its

waiver provision; that he had taken enough time to discuss pos-

sible defenses with his attorney; and that he understood how the

Sentencing Guidelines might be applied in his case.           In fact,

Petitioner admitted that he was guilty of the subject charge; and

that no one had threatened or coerced him into pleading guilty,

and no one had made him any promises of leniency in order to

induce his plea.      On the contrary, Petitioner acknowledged that

he was knowingly and voluntarily tendering his guilty plea

     Last, Petitioner told the Court that he was satisfied with

the services of his attorney, and that “everything [was] fine”

between them.   Accordingly, the Court determined that Petition-

er’s guilty plea was knowingly and freely made, and so the Court

accepted that plea.

     Next, on September 25, 2002, the Court held Petitioner’s


                                    3


    Case 3:00-cr-00212-FDW   Document 248   Filed 02/01/08   Page 3 of 23
Factual Basis and Sentencing Hearing with the assistance of an

interpreter.   At the beginning of that Hearing, Petitioner stated

that he had reviewed his Pre-Sentence Report with his attorney,

and he stipulated that such Report provided a factual basis for

his guilty plea.    Defense counsel also reported his belief that

based upon his exhaustive review, Petitioner understood the

Report.   However, Petitioner told the Court that he had a ques-

tion about the offense levels, and so counsel was given an

opportunity to answer that question.        After taking time to answer

Petitioner’s question, Petitioner affirmed that he had no addi-

tional questions and was ready to proceed with the hearing.

     Next, the Government objected to the Report’s recommendation

for a sentence reduction under the Safety Valve provision.             Spe-

cifically, the Government stated that although the Safety Valve

provision is listed under U.S. Sentencing Guidelines §5C1.2(5),

it must be applied as a Chapter 2 reduction under §2D1.1(b)(6).

Thus, the Government argued that since Petitioner’s Plea Agree-

ment expressly excluded Chapter 2 reductions, he could not

receive one.

     In addition, the Government argued that Petitioner had not

met all of the requirements of the Safety Valve provision.             More

particularly, the Government asserted that information from cer-

tain wiretaps had established that Petitioner had downplayed his

own involvement and intentionally omitted information about other


                                    4


    Case 3:00-cr-00212-FDW   Document 248   Filed 02/01/08   Page 4 of 23
conspirators of whom he was aware.

     In response, defense counsel conceded that the term in the

Plea Agreement could not be overcome and that “the information

which was elicited came by way of pulling teeth.”            However,

counsel disagreed that Petitioner had been deceptive with the

authorities.   In sum, defense counsel asserted that although

Petitioner’s cooperation was not sufficient to meet the higher

standard required for a downward departure under §5K of the

Guidelines, he believed it was sufficient to meet the standard

for a reduction under the Safety Valve provision.

     After considering all of the relevant information, the Court

found that the parties’ Plea Agreement precluded a reduction

under the Safety Valve provisions and, in any event, that Peti-

tioner had not met the criteria for such reduction.            Therefore,

the Court determined that Petitioner’s adjusted offense level was

35, his criminal history score was I, and the corresponding range

of imprisonment was 168 to 210 months imprisonment.

     During his allocution Petitioner, inter alia,            thanked the

Court for its decision and the Government for everything that had

been done for him, he asked for forgiveness, and he expressed his

opinion that the United States is the “best Country in the world

. . . .”   The Court then sentenced Petitioner to the lowest pos-

sible term of 168 months imprisonment.       The Court’s Judgment was

filed on October 23, 2002.


                                    5


    Case 3:00-cr-00212-FDW   Document 248   Filed 02/01/08   Page 5 of 23
     Petitioner did not immediately appeal either his conviction

or his sentence.    Rather, on May 15, 2003, Petitioner filed his

first Motion to Vacate under 28 U.S.C. § 2255 (see Acuna v.

United States, 3:03cv231-T).      Among his numerous claims, Peti-

tioner argued that his attorney had been ineffective for failing

to file an appeal as Petitioner had asked.         The Court addressed

and rejected all of Petitioner’s claims, and summarily dismissed

his Motion to Vacate.    On appeal, however, the Fourth Circuit

Court of Appeals concluded that the case United States v. Peak,

992 F.2d 39, 42 (4th Cir. 1993), required that Petitioner’s claim

that he was denied an appeal be remanded for further proceedings.

     On remand, the Government responded to the appeal-related

allegation, denying any violation to Petitioner’s rights.             In

support of that denial, the Government tendered an Affidavit from

former defense counsel.      Counsel’s Affidavit asserted, among

other things, that prior to sentencing, he met with Petitioner

and discussed his sentencing prospects; that although it was his

normal practice to review appellate options during his pre-

sentencing meetings, he could not recall whether he had done that

with Petitioner; that he believed that after sentencing, he told

Petitioner about the 10-day appeal deadline; that on the day

after the Judgment was filed, he sent his interpreter to see

Petitioner at the jail; that Petitioner never expressed a desire

for an appeal; and that he had received numerous letters from


                                    6


    Case 3:00-cr-00212-FDW   Document 248   Filed 02/01/08   Page 6 of 23
Petitioner over the intervening years, but none mentioned

anything about any denial of an appeal.

     On May 9, 2005, this Court entered an Order finding that

counsel’s Affidavit reported both his standard practice of

advising clients of their appellate rights after the imposition

of their sentences, and his lack of a specific recollection of

whether he had followed that practice in this case.           Accordingly,

the Court granted Petitioner’s Motion to Vacate on that claim,

and reimposed its Judgment from which Petitioner was allowed to

take a direct appeal.

     On direct appeal, Petitioner argued that he was subjected to

various instances of ineffective assistance of counsel; and that

this Court had erred in denying his request for a reduction under

the Safety Valve provisions of the Guidelines.          United States v.

Acuna, No. 05-4573, slip op. at 2-3 (4th Cir. July 28, 2006).

The appellate Court found that Petitioner’s waiver was valid and

enforceable; that such waiver barred his right to challenge this

Court’s decision to deny the reduction; and that Petitioner’s

claims against his trial attorney could not be reached on direct

appeal because no deficiencies were conclusively demonstrated on

the record.   Id. at 3.

     Accordingly, Petitioner’s conviction and sentence were

affirmed and his appeal was dismissed.       Petitioner’s Petition for

Rehearing En Banc was denied on November 28, 2006; and the


                                    7


    Case 3:00-cr-00212-FDW   Document 248   Filed 02/01/08   Page 7 of 23
appellate Court’s Mandate was issued on December 6, 2006.

     Now, Petitioner has returned to this Court on the instant

Motion to Vacate.    By his Motion, Petitioner argues that he was

subjected to ineffective assistance of counsel, due to counsel’s

alleged: (1) “fail[ure] to investigate the law and facts relevant

to plausible options”; (2) failure to “familiarize himself with

the facts and laws of the case and . . . [to] inform [Petitioner]

of the laws and current status of [his] cooperation”; (3) “fail-

[ure] to advise [Petitioner} on the substantive issues concerning

the case and the advantage and disadvantage of filing an appeal”;

(4) giving “errant [sic] advice on signing [a] plea agreement

[which] . . . eviscerated [Petitioner’s] desire to plead without

waiving his appellate rights”; (5) “fail[ure] to inform [Peti-

tioner] of any problems with cooperation before sentencing as

perceived by the United States Attorney’s Office”; (6)”fail[ure]

to correctly identify the Safety Valve legislative enactment

. . . which t[ook] precedent [sic] over the Guidelines”; (7)

fail[ure] to explain to [Petitioner] the Plea Agreement, the U.S.

[Sentencing Guidelines], and the P.S.I. report with the aid of an

interpreter”; (8) [fail]ure to file a Brief for Downward Depar-

ture as promised and as required by the 4th Circuit precedent”;

and (9) “fail[ure] to dispute the quantity of drugs attributed to

[Petitioner] based on Apprendi . . . and its prognocey [sic].”

     Notwithstanding his obvious beliefs to the contrary,


                                    8


    Case 3:00-cr-00212-FDW   Document 248   Filed 02/01/08   Page 8 of 23
however, the Court has determined that Petitioner’s claims are

defeated by the underlying record and the relevant legal authori-

ties.

                             II.   ANALYSIS

     1. This Court is authorized to promptly review
        and dismiss any § 2255 motion which does not
        contain a claim that entitles Petitioner to
        any relief.

     Pursuant to Rule 4(b) of the Rules Governing Section 2255

Proceedings, sentencing courts are directed to promptly examine

motions to vacate, along with “any attached exhibits and the

record of prior proceedings . . . “ in order to determine whether

the petitioner is entitled to any relief on the claims set forth

therein.    In the event it is determined that the petitioner is

not entitled to relief, the reviewing Court must dismiss the

motion.

     Following such directive, this Court has carefully reviewed

the petitioner’s Motion to Vacate and the pertinent record evi-

dence.    As hereafter explained, such review clearly establishes

that the petitioner is not entitled to relief on any of his

claims.

     2.    Petitioner’s allegations of ineffective-
           ness are defeated by his failure to show,
           through objective evidence, that he would
           have gotten better results by entering
           straight up guilty pleas.

     With respect to claims of ineffective assistance of counsel,


                                    9


    Case 3:00-cr-00212-FDW   Document 248   Filed 02/01/08   Page 9 of 23
a petitioner must show that counsel's performance was constitu-

tionally deficient to the extent it fell below an objective

standard of reasonableness, and that he was prejudiced thereby.

Strickland v. Washington, 466 U.S. 668, 687-91 (1984).            In making

this determination, there is a strong presumption that counsel's

conduct was within the wide range of reasonable professional

assistance. Id. at 689; see also Fields v. Attorney Gen. of Md.,

956 F.2d 1290, 1297-99 (4th Cir.), cert. denied, 474 U.S. 865

(1985); Hutchins v. Garrison, 724 F.2d 1425, 1430-31 (4th Cir.

1983), cert. denied, 464 U.S. 1065 (1984); and Marzullo v.

Maryland, 561 F.2d 540 (4th Cir. 1977), cert. denied, 435 U.S.

1011 (1978).

     Under these circumstances, the petitioner “bears the burden

of proving Strickland prejudice.”       Fields, 956 F.2d at 1297,

citing Hutchins, 724 F.2d at 1430-31.       If the petitioner fails to

meet this burden, a “reviewing court need not consider the per-

formance prong.”   Fields, 956 F.2d at 1290, citing Strickland,

466 U.S. at 697.

     More critically, inasmuch as this petitioner has alleged in-

effective assistance of counsel following the entry of his guilty

plea, he has a different burden to meet.        See Hill v. Lockhart,

474 U.S. at 53-59; Fields, 956 F.2d at 1294-99; and Hooper v.

Garraghty, 845 F.2d 471, 475 (4th Cir.), cert. denied, 488 U.S.

843 (1988).    The Fourth Circuit described the petitioner’s burden


                                   10


   Case 3:00-cr-00212-FDW   Document 248   Filed 02/01/08   Page 10 of 23
in a post-guilty plea claim of ineffective assistance of counsel

as follows:

          When a [petitioner] challenges a conviction
          entered after a guilty plea, [the] “prejudice
          prong of the [Strickland] test is slightly
          modified. Such a defendant must show that
          there is a reasonable probability that, but
          for counsel’s errors, he would not have
          pleaded guilty and would have insisted on
          going to trial.”

Hooper, 845 F.2d at 475 (emphasis added); accord Hill v. Lock-

hart, 474 U.S. at 59-60; and Fields, 956 F.2d at 1297.            Criti-

cally, however, if a petitioner fails to meet his burden of

demonstrating prejudice, a “reviewing court need not consider the

performance prong.”    Fields, 956 F.2d at 1290, citing Strickland,

466 U.S. at 697.

     The “central inquiry” is whether, but for counsel’s alleged

errors, Petitioner would have insisted on a trial, Slavek v.

Kinkle, 359 F.Supp.2d 473, 491 (E.D. Va. 2005) (summarily rejec-

ting claims of ineffectiveness on prejudice prong based on

petitioner’s failure and inability to argue that but for alleged

errors, he would have insisted on trial or entered a different

guilty plea).   In the present case, the Court notes that Peti-

tioner does not assert that but for counsel’s ineffectiveness, he

would have insisted upon going to trial.        Rather, Petitioner

interestingly contends that but for counsel’s ineffectiveness, he

would have insisted upon entering “straight up” guilty pleas

However, because the record of this matter fails to objectively

                                   11


   Case 3:00-cr-00212-FDW   Document 248   Filed 02/01/08   Page 11 of 23
demonstrate that Petitioner would have obtained better results

had he entered such pleas, his claims are subject to summary

dismissal on that basis alone.

     Indeed, courts have stated that the critical inquiry is an

“objective one” based on whether going to trial or, in this case,

pleading guilty “straight up” might “reasonably have resulted in

a different outcome.”       Martin v. United States, 395 F. Supp. 2d

326, 329 (D. S.C. 2005).       See also Beck v. Angelone, 261 F.3d

377, 396 (4th Cir. 2001) (finding that in light of overwhelming

evidence of guilt and lack of available defenses, petitioner

could not establish prejudice under the modified “reasonable

probability” standard); and Burkett v. Angelone, 208 F.3d 172,

190-91 (4th Cir. 2000) (same).

     To begin, Petitioner was charged with conspiring to traffic

in excess of 5 kilograms of cocaine powder and 100 kilograms of

marijuana; and he was charged with two substantive drug traffic-

king counts, each involving 500 grams or more of cocaine.                 In a

Brief filed by Petitioner in connection with his direct appeal,

Petitioner, himself, conceded that he was involved with “an

extensive cocaine distribution ring operated by Higinio Padron

Vazquez”; and that “Vazquez was responsible for sending between

3,000 and 5,000 kilograms of cocaine from Chicago and elsewhere

to Charlotte, NC and other areas.”           (See Petitioner’s Motion to

Vacate at 45).   In addition, the Government’s evidence, as


                                     12


   Case 3:00-cr-00212-FDW     Document 248     Filed 02/01/08   Page 12 of 23
reflected in Petitioner’s Pre-Sentence Report, tended to

establish that he played a leadership role in the Charlotte cell

of the Vazquez conspiracy; that he had “numerous individuals who

worked directly for him”; that he purchased drugs from various

sources in 10 to 40 kilogram quantities; and it was “estimated

that he [was] responsible for or aware of the distribution of at

least 300 kilograms of cocaine over the span of the conspiracy.”

     According to Petitioner’s Pre-Sentence Report, had he pled

guilty straight up and simply been subject to the managerial

enhancement, he would have faced a “guideline imprisonment range

of 235 to 293 months,” rather than the 168 to 210 month range in

which he actually was sentenced.        Based upon the foregoing, this

Court cannot reasonably conclude that Petitioner somehow would

have obtained a better result had he entered straight-up guilty

pleas.    Therefore, pursuant to the relevant legal principles,

none of Petitioner’s claims against his former counsel can be

sustained.

     3.   Notwithstanding his failure to demonstrate that
          he was prejudiced by counsel’s performance, Pe-
          titioner’s claims also are subject to dismissal
          as legally and/or factually baseless.

     By his first two claims, Petitioner alleges that his former

attorney failed to investigate the laws and facts relevant to

plausible options, and to familiarize himself with the facts and

laws of his case.    However, as can be observed from this Court’s

factual recitation, these belated allegations are belied by the

                                   13


   Case 3:00-cr-00212-FDW   Document 248    Filed 02/01/08   Page 13 of 23
record of the underlying criminal proceedings.

     The law is well settled that in evaluating a post-guilty

plea claim of ineffective assistance, statements previously made

under oath affirming satisfaction with counsel, such as those

made during a Rule 11 proceeding, are binding on the defendant

absent “clear and convincing evidence to the contrary.”            Fields

956 F.2d at 1299, citing Blackledge v. Allison, 431 U.S. 63, 74-

75 (1977).   Accord United States v. Lemaster, 403 F.3d 216, 220-

23 (4th Cir. 2005) (affirming summary dismissal of § 2255 motion,

including ineffective assistance claim, noting inconsistent

statements made during Rule 11 hearing).

     Here, the record reflects that during his Rule 11 hearing,

Petitioner stated, under oath, that he had received a copy of his

Indictment and had discussed that document, the charges and the

corresponding penalties with his attorney.        Petitioner further

swore that he fully understood those matters; and that he and

counsel had discussed possible defenses to his charges.            Thus,

this record totally undermines Petitioner’s claims that counsel

failed to investigate his case and to familiarize himself with

the laws governing the case.

     The record also stands as an obstacle to Petitioner’s claim

that counsel failed to explain his Plea Agreement, the U.S.

Sentencing Guidelines and his Pre-Sentence Report “with the aid

of an interpreter.”    Indeed, despite this belated allegation,


                                   14


   Case 3:00-cr-00212-FDW   Document 248   Filed 02/01/08   Page 14 of 23
during his Rule 11 proceeding, Petitioner swore that he under-

stood the terms of his Plea Agreement, including its waiver

provision; and that he and counsel had discussed the Guidelines,

and he understood how they could have been applied in his case.

In addition, Petitioner told the Court that he was satisfied with

his attorney, and that everything was fine between them.

     During his Sentencing hearing, Petitioner told the Court

that he and counsel had reviewed the Pre-Sentence Report.             Peti-

tioner also stipulated that the information in that Report

provided a factual basis for his guilty plea.         Other than Peti-

tioner’s attempt to make much of the fact that his attorney had

to take additional time to explain some things to him at the

outset of his Rule 11 and Sentencing proceedings, Petitioner has

failed to present any evidence which conflicts with his sworn

representations that he understood his Plea Agreement, the

Guidelines and his Pre-Sentence Report.       Therefore, this claim

also must be rejected.

     Petitioner also alleges that counsel gave him erroneous

information about signing his Plea Agreement, thereby “eviscera-

t[ing] his desire to plead guilty without a plea agreement” and

to avoid waiving his appellate rights.       However, as with the

above claims, the record of this case tends to sharply contradict

this allegation.

     In particular, as was previously noted, Petitioner cannot


                                   15


   Case 3:00-cr-00212-FDW   Document 248   Filed 02/01/08   Page 15 of 23
objectively establish that he would have obtained a better

sentence had he pled guilty without a plea agreement.             Rather,

such a decision would have exposed Petitioner to the three-level

managerial enhancement which would have been applicable in the

absence of his Plea Agreement’s exclusion of that increase.              That

managerial enhancement, alone, would have exposed Petitioner to a

range of 235 to 293 months imprisonment, that is, to a range

which was 67 to 83 months longer than the range in which he was

sentenced.

     Furthermore, during his Plea hearing, Petitioner swore that

his guilty plea was being voluntarily and intelligently tendered;

that no one had coerced or threatened him into pleading guilty;

and that no one had made him any promises of leniency in order to

secure his plea.   Therefore, in light of the fact that Peti-

ioner’s Plea Agreement greatly benefitted him, and he has failed

to credibly rebut his earlier sworn statements concerning the

voluntariness of the plea, Petitioner cannot demonstrate either

deficient performance or prejudicial result in connection with

his claim that counsel gave erroneous information about pleading

guilty under his Plea Agreement.        See Fields, 956 F.2d at 1299

(noting that the fact that a plea bargain is “favorable” to a

defendant and that accepting it was “a reasonable and prudent

decision” is itself evidence of “[t]he voluntary and intelligent”

nature of the plea).


                                   16


   Case 3:00-cr-00212-FDW   Document 248    Filed 02/01/08   Page 16 of 23
     Petitioner also alleges that counsel failed to “advise [him]

on the substantive issues concerning the case and the advantage

and disadvantage of filing an appeal.”        However, this allegation

is belied by Petitioner’s sworn representations that he and

counsel had, in fact, discussed the terms of his Agreement,

including the appellate waiver provisions.         Moreover, inasmuch as

Petitioner ultimately was permitted to file a direct appeal in

this matter, he cannot establish defective performance or

resulting prejudice here.

     Furthermore, as to the allegation that counsel failed to

advise Petitioner of the substantive issues concerning the case,

such claim is vague and conclusory.        To be sure, Petitioner does

not point to any specific substantive issue about which he be-

lieves he should have been advised.        Moreover, as has already

been demonstrated, this claim is foreclosed by Petitioner’s sworn

representations that he and counsel had, in fact, discussed his

charge, the penalties, and the possible defenses which he could

have raised.   Thus, this claim must be flatly rejected.

     Petitioner also argues that counsel failed to use the hold-

ings from Apprendi v. New Jersey, 530 U.S. 466 (2000) and its

progeny, to challenge the quantity of drugs which were attributed

to him.   In Apprendi, the Supreme Court held that other than a

prior conviction, any fact that increases the penalty for a crime

beyond the prescribed statutory maximum must be submitted to the


                                   17


   Case 3:00-cr-00212-FDW   Document 248    Filed 02/01/08   Page 17 of 23
jury and proven beyond a reasonable doubt.        However, the Indict-

ment in this case alleged a conspiracy involving “in excess of

five kilograms,” and Petitioner ultimately was convicted and

sentenced based upon his guilty plea and his stipulation to

involvement with more than 150 kilograms.

     Moreover, Petitioner never has challenged the information in

his Pre-Sentence Report which reports that he was the leader of a

cell within his conspiracy which was “responsible or aware of the

distribution of at least 300 kilograms.”        Accordingly, given the

fact that this was not a case which went to trial on any issue

and the fact that all of the evidence--including Petitioner’s

stipulation--supports his sentence, Petitioner cannot demonstrate

either deficient performance or resulting prejudice on the basis

of counsel’s decision not to raise a claim under Apprendi.             See

United States v. Williams, 29 F.3d 172, 174-75 (4th Cir. 1994)

(noting that a stipulation to particular drug quantity consti-

tutes a waiver of the right to appeal/challenge that issue); see

also United States v. Carter, 300 F.3d 415, 425 (4th Cir. 2002)

(to object to drug quantities in pre-sentence report, defendant

has affirmative duty to show that information is inaccurate or

unreliable).

     Petitioner also claims that counsel failed to discern that

the Safety Valve provision was enacted by Congress and, there-

fore, takes precedence over the Sentencing Guidelines because the


                                   18


   Case 3:00-cr-00212-FDW   Document 248   Filed 02/01/08   Page 18 of 23
latter were promulgated by a regulatory agency.             However, even

assuming that counsel failed to properly discern the authority of

the Safety Valve provision under 18 U.S.C. § 3553(f), Petitioner

still cannot demonstrate that he was prejudiced thereby.

     To be sure, to qualify for a sentence reduction under the

Safety Valve provision, a defendant has to meet five criteria.

See 18 U.S.C. § 3553(f)(1) through (5).       Critical here, to qua-

lify for a reduction, Petitioner would have had to truthfully

provide to the Government all information and evidence which he

had concerning the offense or offenses that were part of the same

course of conduct as his offense, and he could not have been an

organizer, leader, manager, or supervisor of others who were

involved in his offense.

     However, Petitioner’s Pre-Sentence Report clearly reflects

that he played a supervisory role in his conspiracy; and that he

was only able to avoid the consequences of that role by virtue of

his attorney’s having negotiated for a Plea Agreement which

omitted its stipulation to a managerial enhancement. Furthermore,

at sentencing, the Government advised the Court that it had evi-

dence which showed that Petitioner had “not been completely

truthful . . . in his debriefings and ha[d] not been completely

candid and forthcoming in relation to his drug activity and those

players associated with him in that drug activity.”             (Sentencing

Transcript at 12-13, filed August 19, 2005).         After considering


                                   19


   Case 3:00-cr-00212-FDW   Document 248   Filed 02/01/08     Page 19 of 23
the law and the parties’ arguments, the Court determined that

Petitioner did not qualify for the Safety Valve reduction.

     Based upon the foregoing, then, Petitioner cannot demon-

strate that he was harmed by counsel’s alleged failure to pro-

perly discern the statutory weight of the Safety Valve provision.

On the contrary, it was Petitioner’s own conduct, both before and

after he was indicted, which precluded his receipt of a reduced

sentence under that provision.       Consequently, this claim must be

rejected.

     Similarly, Petitioner claims that counsel failed to inform

him of any problems with his cooperation and of the status of his

cooperation before sentencing.       However, the record of this

matter reflects that this claim is baseless.           Indeed, as defense

counsel recounted at sentencing, during his numerous debriefings

with federal authorities, Petitioner was less than forthcoming

with his information.       Counsel actually described those debrief-

ing sessions as an exercise in “pulling teeth.”

     Also, as the Court previously noted, the Government advised

the Court of its evidence that Petitioner had attempted to omit

information about his activities and those of a co-conspirator.

Inasmuch as Petitioner’s own conduct was the impediment to his

receiving a favorable evaluation for his cooperation, he was or

should have been well aware of the status of his cooperation with

the Government.   To put it simply, Petitioner knew that he was


                                     20


   Case 3:00-cr-00212-FDW     Document 248   Filed 02/01/08   Page 20 of 23
not fully cooperating with the Government.        Therefore, he cannot

possibly demonstrate that he was prejudiced by counsel’s alleged

failure to report that the Government was not impressed with him.

     Petitioner also argues that counsel failed to file a Brief

for a Downward Departure as he had promised to do in a letter to

Petitioner and as required by certain Fourth Circuit precedent.

Notably, Petitioner does not point to any specific fact which he

believed would have supported a downward departure.           Thus, for

that reason and the ones that follow, this claim is factually

baseless.

     In addition to Petitioner’s failure to articulate why he

believes he should have received a departure, the letter on which

he relies does not reflect any promise from counsel to file a

brief for a downward departure.     Rather, the subject letter -

which was written prior to the time that Petitioner was indicted

and had secured the Government’s promise to evaluate his co-

operation and seek a departure, if warranted - reflects counsel’s

hope that Petitioner could earn a motion for a downward departure

from the Government in exchange for his full cooperation.             Thus,

Petitioner is mistaken as to the nature of the letter.            Moreover,

it has not escaped this Court’s attention that downward departure

motions based on defendants’ cooperation can only be made by the

Government, not defense counsel.

     It also has not escaped the Court’s attention that Peti-


                                   21


   Case 3:00-cr-00212-FDW   Document 248   Filed 02/01/08   Page 21 of 23
tioner is attempting to support this claim by relying on cases

which simply are not helpful to him.       That is, one of the two

cases, United States v. Brock, 108 F.3d 31, 32 (4th Cir. 1997),

was remanded by the Circuit Court for consideration of whether

the defendant’s rehabilitation efforts were exceptional and, if

so, whether a departure was warranted.        Here, Petitioner does not

even bother to argue that he underwent exceptional rehabilitation

during the pendency of his case.        And, to the extent that Peti-

tioner is attempting to rely on his pre-sentencing efforts to

learn to speak English, such efforts, while commendable, fall far

short of demonstrating exceptional rehabilitation.

     Similarly, the other case on which Petitioner relies, Koon

v. United States, 518 U.S. 81, 94-96 (1996) merely explains the

three categories into which departures can be divided, i.e.,

departures based on an encouraged factor, departures based on a

discouraged factor or an encouraged factor which already is

accounted for by the applicable Guideline, and departures based

upon a factor which is not mentioned in the Guidelines.             Again,

however, because Petitioner does not point to any specific ground

upon which he believes counsel could have sought a departure, the

Koon case simply does not support his claim against counsel.

Consequently, Petitioner is not entitled to any relief on this

claim.




                                   22


   Case 3:00-cr-00212-FDW   Document 248    Filed 02/01/08   Page 22 of 23
                            III.   CONCLUSION

     Petitioner has failed to establish an entitlement to relief

on any of his claims that his former attorney rendered to him

ineffective assistance of counsel.         Therefore, Rule 4(b) of the

Rules Governing Section 2255 Proceedings requires this Court to

dismiss the instant Motion to Vacate.

                                V. ORDER

     NOW, THEREFORE, IT IS HEREBY ORDERED that the petitioner’s

Motion to Vacate is DENIED and DISMISSED.

     SO ORDERED.



                                         Signed: February 1, 2008




                                    23


   Case 3:00-cr-00212-FDW   Document 248     Filed 02/01/08   Page 23 of 23
